Case 7:18-cv-00353 Document 33-2 Filed on 11/27/19 in TXSD Page 1 of 1

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Regular Student Seating Chart

 

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